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                                  JS-0002
                              
                        
          
        
      
    
  

  

  
    
      JS-0002
              John Scott
                  
        Categories
                        
Natural Resources
              , 
Antiquities
              , 
Public Property
              , 
Personal
              , 
State Boards, Commissions, Departments
              , 
General Services Commission
              , 
Historical Commission
        
      
            
                  Summary
                      To the extent ownership of the historical markers have not been lawfully transferred to another party, the markers remain the property of the State of Texas. A court would likely conclude the Texas Facilities Commission is charged with maintaining the historical markers commemorating the centennial of the Republic of Texas and the Civil War.
      
                          
            Opinion File
                         js-0002.pdf 

      
          
                
        
      
    

          
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    RQ-0491-KP

      
  
                December 15, 2022

      
  
      
      
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                     RQ0491KP.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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